Case 9:24-cv-00085-MJT Document 1-3 Filed 04/30/24 Page 1 of 2 PagelD#: 18

EXHIBIT

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ee
(SE Sie Dt] File Number: 20172294063A
UCC FINANCING STATEMENT Date Filed: 5/25/2017 4:24:06 PM
FOLLOW INSTRUCTIONS C. Delbert Hosemann, Jr.
A. NAME & PHONE OF CONTACT AT FILER (optional) Secretary of State

Paula Mayfield (504) 586-5247

B. EMAIL CONTACT AT FILER (optrceal]

pmayfield@fishmanhaygood.com
C. SEND ACKNOWLEDGMENT TO: (Name and Address)

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Fishman Haygood LLP
201 St Charles Avenue Suite 4600
New Orleans, LA 70170

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812 GRAVIER ST, SUITE 360 NEW ORLEANS LA 70112

4. COLLATERAL: Thisfinancing gaterrent co.ers ina following collateral
All Assets of Debtor, whether now owned or hereafter acquired.

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UCC FINANCING STATEMENT ADDENDUM
FOLLOWINSTRUCTIONS

9. NAME OF FIRST CEBTOR: Samo asling 14 or 1b on Financing Sistoment. fling 1h wasioh blank
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Greenleaf Resources, Inc.

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C. Delbert Hosemann, Jr.

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11. PZ) ADOMHONAL SECURED PARTY'S NAME gr [1] ASSIGNOR SECURED PARTY'S NAME. Prrvido only ong nam (118 of 116}

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612 GRAVIER ST, SUITE 360 NEW ORLEANS LA 70112
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43. (_] THs INANCING STATEMENT ia1o be fited ffce racord) (or recontad)in the 14, This FINANCING STATEMENT
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17. MISCELLANEOUS

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